February 13, 2025



VIA EFILING

The Honorable John R. Tunheim
United States District Court
300 South Fourth Street
Minneapolis, MN 55415

Re:     NUWAY Alliance et al. v. Minnesota Department of Human Services Temporary
        Commissioner Shireen Gandhi, Case No. 0:25-cv-00492
        Request to Exceed Word Limit

Dear Judge Tunheim:

Plaintiffs write pursuant to Local Rule 7.1(f)(1)(D) to request permission to exceed the word-count
limit when submitting their reply brief in support of their Motion for Temporary Restraining Order
and Preliminary Injunction.

Plaintiffs filed their Motion on Saturday, February 8, 2025, seeking emergency relief from the
Court. Under the Court’s expedited briefing schedule, Defendant’s opposition is due on Saturday,
February 15, and Plaintiffs’ reply will be due Monday, February 17 (a federal holiday). Because
the legal and factual issues raised by Plaintiffs’ Motion are complex, Plaintiffs anticipate that they
may be unable to adequately brief the Court on such issues within the local rule’s 12,000 word
limit. Plaintiffs respectfully request permission to allow a 5,000 word limit for Plaintiffs’ reply
brief. With Plaintiffs’ principal brief word count of 10,885 words, a 5,000 word reply brief limit
would bring Plaintiffs’ total briefing word count to a maximum of 15,885 words.

Plaintiffs conferred with Defendant’s counsel, and Defendant’s counsel defers to the Court’s
discretion on this issue. Thank you for your consideration of this request.

Sincerely,

/s/ Manda M. Sertich

Manda M. Sertich
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CC:    Counsel of Record (via efiling)
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